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URfGiNAL
   KENJIM.PRICE #10523
   United States Attorney
   District of Hawaii                                 t^OV 0 9 9018
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   KENNETH M. SORENSON                                  BEITIA. CLERK
   Chief, Criminal Division

   MARC A. WALLENSTEIN #10456
   Assistant U.S. Attorney
   Room 6-100,PJKK Federal Building
   300 Ala Moana Boulevard
   Honolulu, Hawaii 96850
   Telephone: (808)541-2850
   Facsimile: (808)541-2958
   E-Mail: Marc.Wallenstein@usdoj.gov

   Attorneys for Plaintiff
   UNITED STATES OF AMERICA


                      IN THE UNITED STATES DISTRICT COURT


                             FOR THE DISTRICT OF HAWAII


   UNITED STATES OF AMERICA,            MAG. NO. 18-01253 RLP


                        Plaintiff,      CRIMINAL COMPLAINT


                vs.



   ABDURAHMAN (01),
   DIAN ANDRIYANTO (02),
   YULI HARYANTO (03),
   TAUFIK HIDAYAT (04),
   BUDIMULYANA (05),
   DENINURYANTO (06),
   PURWANTO (07),
   MAMAN RUKMANA (08),
   TEGUH IMAM SANTOSO (09), and
   IBNU FAHMI ZAKI(10),
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                    Defendants.       )
                                      )

                            CRIMINAL COMPLAINT


      I, the undersigned complainant, being duly swom,state the following is true

and correct to the best of my knowledge and belief.

                                     COUNT 1
                     Smuggling Goods from the United States

      On or about November 7,2018,in the District of Hawaii and elsewhere,

ABDURAHMAN,'DIAN ANDRIYANTO,YULIHARYANTO,TAUFIK

HIDAYAT,BUDIMULYANA,DENINURYANTO,PURWANTO,^ MAMAN

RUKMANA,TEGUH IMAM SANTOSO,and IBNU FAHMIZAKI,the

Defendants, did knowingly attempt to export,from the United States to Indonesia,

certain articles and objects, namely,fins from oceanic whitetip sharks,

Carcharhinus longimanus, contrary to the laws and regulations ofthe United

States, specifically: contrary to the Endangered Species Act, 16 U.S.C.

§§ 1538(c)(1) and 1538(g), which makes it unlawful for any person subject to the

jurisdiction ofthe United States to engage in, or attempt to engage in, any trade

contrary to the provisions ofthe Convention on Intemational Trade in Endangered




^ This defendant goes by a single name.
^ This defendant goes by a single name.
                                          2
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Species(CITES), which requires, pursuant to Article IV ofthe Convention and as

implemented at 50 C.F.R. § 23.20, a valid CITES document to engage in

intemational trade in any CITES specimen,including oceanic whitetip sharks.

      All in violation of 18 U.S.C. § 554(a).

                                     COUNT 2
                            Lacey Act Fish Trafficking

      On or about November 7, 2018,in the District of Hawaii and elsewhere,

ABDURAHMAN,DIAN ANDRIYANTO,YULIHARYANTO,TAUFIK

HIDAYAT,BUDIMULYANA,DENINURYANTO,PURWANTO,MAMAN

RUKMANA,TEGUH IMAM SANTOSO,and IBNU FAHMIZAKI,the

defendants, did knowingly attempt to export fish, that is: shark fins, which

defendant knew were possessed in violation of and in a manner unlawful under

law, and which shark fins were in fact possessed in violation ofthe laws and

regulations ofthe State of Hawaii, specifically: H.R.S. § 188-40.7(a), which

renders it unlawful to possess shark fins in Hawaii.

      All in violation of Title 16, United States Code, Sections 3372(a)(4),

3372(a)(2)(A), and 3373(d)(1)(A).

      I further state that I am a U.S. Fish and Wildlife Special Agent and that this

Complaint is based upon the facts set forth in the attached "Affidavit in Support of

//
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Criminal Complaint", which is attached hereto and incorporated herein by

reference.



                                        dTH SWINDLE
                                     Special Agent
                                     U.S. Fish and Wildlife Service


Sworn to and subscrib
this 9th day of Nove



                                 £
KEVIN S.C. CHA
United States Magist
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                  IN THE UNITED STATES DISTRICT COURT


                       FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,              MAG.NO. 18-01253 RLP


                   Plaintiff,          AFFIDAVIT IN SUPPORT OF
                                       CRIMINAL COMPLAINT


            vs.



ABDURAHMAN (01),
DIAN ANDRIYANTO (02),
YULIHARYANTO (03),
TAUFIK HIDAYAT (04),
BUDIMULYANA (05),
DENINURYANTO (06),
PURWANTO (07),
MAMAN RUKMANA (08),
TEGUH IMAM SANTOSO (09), and
IBNU FAHMIZAKI(10),

                   Defendants.



           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


      KEITH SWINDLE,being duly sworn, deposes and states as follows:

      1.    I am a Special Agent with the U.S. Fish and Wildlife Service in

Honolulu, Hawaii, and have served in that capacity for more than 17 years. I

served as a Field Agent in Sacramento, California from 2001-2002 and in

Honolulu, Hawaii from 2002-2012. I served as a Senior Special Agent in the U.S.

Fish and Wildlife Service Headquarters in Falls Church, Virginia from 2012-2015,

and I am currently the Resident Agent In Charge ofthe Office ofLaw
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Enforcement, Honolulu. I am responsible for violations of U.S. Fish and Wildlife

laws and regulations in Hawaii, and the U.S. territories and possessions in the

Pacific. My primary duties are to conduct investigations and oversee

investigations conducted by Special Agents and Wildlife Inspectors. The majority

of that work involves facilitating legal importation or exportation of fish and

wildlife products and investigating illegal importation or exportation of fish and

wildlife products to and from the United States and its Territories, pursuant to the

Convention on International Trade in Endangered Species(CITES),the

Endangered Species Act, the Lacey Act, the Migratory Bird Treaty Act, and a

number of other laws that regulate international and interstate transport and

commerce in wildlife products. I have investigated numerous violations and

arrested or otherwise effected the prosecution of dozens ofindividuals for unlawful

conduct in multiple states across the country and throughout the Pacific.

      2.     From a precise date unknown, a number ofIndonesian nationals had

been working as fisherman and crew members on a Japanese-flagged fishing

vessel, Kyoshinmaru #20,some ofthem for as long as approximately one year.

      3.     A local marine navigation corporation in Honolulu had been hired to

assist the Indonesian nationals in returning to Indonesia.

      4.     On or about November 7, 2018, eighteen(18)Indonesian nationals

disembarked the Kyoshinmaru #20, while the vessel was in international waters.
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more than 12 miles offshore, and boarded a water taxi, where they met a Vessel

Agent from the local marine navigation corporation.

       5.        The Vessel Agent brought the Indonesian nationals from intemational

waters to Pier 36 in Honolulu Harbor, where they met with a representative from

U.S. Customs and Border Protection("GBP"), who had previously been notified of

their arrival.


       6.        Four(4)of the Indonesian nationals were crew members with visas to

depart the United States. They were permitted to enter the United States, pursuant

to their visas.


       7.        Fourteen (14)ofthe Indonesian nationals did not have visas, and with

the assistance ofthe Vessel Agent,they requested Parole to Depart, which is a

form of discretionary authority, granted on a case-by-case basis, that allows a

person to temporarily enter the United States without a visa, in order to promptly

depart. After review by GBP,including a criminal history check, the 14

Indonesian nationals were eventually granted Parole to Depart, and were placed

under the supervision ofthe Vessel Agent, for the purpose of promptly departing

on an upcoming flight. The Vessel Agent then took all 18 ofthe Indonesian

nationals to Honolulu Intemational Airport, in order to board previously-ticketed

flights to Indonesia, on A1 Nippon Airways("ANA").

       8.        During routine screening ofthe Indonesian nationals' checked
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luggage by the Transportation Security Administration(TSA),three oftheir

checked bags triggered alarms. Two ofthose bags were found to contain dried

shark fins, which are unlawful to possess in Hawaii.

      9.     U.S. Fish and Wildlife Service(FWS)Special Agent Jennifer Roth,

FWS Special Agent Victoria Owens,FWS Supervisory Wildlife Inspector

Anthony Palermo, Wildlife Inspector Pamela Akeo, and myself, working with the

TSA and a representative from ANA Airlines, identified approximately 30 pieces

ofluggage that the 18 Indonesian nationals had checked through to Indonesia, and

recalled those pieces ofluggage for further inspection.

      10.    Ofthose approximately 30 pieces ofluggage, 13 were foimd to

contain shark fins. These included cardboard boxes, backpacks, and suitcases.

Fins were bundled together, and some were wrapped in foil. Some fins were

sealed into clear and opaque plastic bags, such as empty bags of rice, that obscured

the contents, and those bags were, in turn, sealed within other opaque bags,

apparently to contain odor or otherwise obscure the contents. Some bags were

taped shut, and some were sealed with some sort of heat process that created a

seam. In total, at least 962 shark fins weighing approximately 190 pounds(89

kilograms) were recovered from the 13 pieces ofluggage.

      11.   Based on my training and experience, dried sharkfin ranges in price

from $75 to $650 per kilogram, depending upon quality and species. The 190
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pounds of shark fins seized therefore represent approximately $6,695 to $57,850 in

street value.


      12.       SWI Palermo and WI Akeo determined that some ofthe fins were

from oceanic whitetip sharks, Carcharhinus longimanus, which is a species listed

in, and subject to, the Convention on Intemational Trade in Endangered Species

(CITES).

      13.       18 U.S.C. § 554(a) makes it unlawful for a person to export articles

and objects contrary to the laws and regulations ofthe United States. The

Endangered Species Act, 16 U.S.C. §§ 1538(c)(1) and 1538(g), makes it unlawful

for any person subject to the jurisdiction ofthe United States to engage in, or

attempt to engage in, any trade contrary to the provisions of CITES. Article IV of

CITES,as implemented at 50 C.F.R. § 23.20, requires a person to have a valid

CITES document in order to engage in intemational trade in any CITES specimen,

including oceanic whitetip sharks.

      14.       None of the Indonesian nationals had a valid CITES document to


engage in intemational trade, in oceanic whitetip sharks or anything else.

      15.       The 13 pieces ofluggage that contained shark fins were checked

under the names often ofthe Indonesian nationals. Those individuals are:

ABDURAHMAN,DIAN ANDRIYANTO,YULIHARYANTO,TAUFIK

HIDAYAT,BUDIMULYANA,DENINURYANTO,PURWANTO,MAMAN
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RUKMANA,TEGUH IMAM SANTOSO,and IBNU FAHMIZAKI(collectively,

"the Defendants").

        16.   Under my direction, the shark fins were removed from the luggage

and seized. Care was taken to ensure that a property receipt with the last name of

the individual and the airline baggage claim number corresponding to the checked

luggage from which the fins were removed was attached to each bundle of shark

fins.


        17.   Each ofthe 10 defendants signed forms abandoning the seized items

to the United States.


        18.   The Vessel Agent arranged ovemight lodging and transport for all 18

Indonesian nationals.


        19.   On November 8, 2018,the Vessel Agent brought the 18 Indonesian

nationals back to the airport. At the request ofFWS,they did not board their

scheduled flight, and were transported to the United States Postal Inspection

Service's Office for questioning.

        20.   The 10 defendants and the 8 witnesses were separated into two groups

and provided food, water, seats in air-conditioned rooms or vehicles, and access to

restroom facilities. All 10 ofthe defendants and 2 ofthe 8 witnesses were


interviewed with Indonesian-speaking interpreters. All 12 individuals had written

Miranda warnings read to them by an interpreter and all 12 signed the forms at the
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beginning oftheir respective individual interviews. All 12 individuals had written

waiver to legal counsel forms read to them by an interpreter. Three ofthe

defendants(DIAN ANDRIYANTO,BUDIMULYANA,and MAMAN

RUKMANA)elected not to sign the written waiver to an attomey and were not

interviewed. The other nine signed the legal counsel waiver forms. After Miranda

warnings or interviews, the 10 Defendants were admitted to the Federal Detention

Center, and the eight witnesses were released.

      21.    On or about November 8, 2018, after waiving his Miranda rights

verbally and in writing, with the aid of an interpreter, DENINURYANTO

admitted that he knew that shark fins are illegal to possess in Indonesia and many

other countries. Although he denied knowing one way or the other whether shark

fins were illegal in the United States, he admitted that he should have checked the

laws ofthe United States first.


      22.    On or about November 8, 2018, after waiving his Miranda rights

verbally and in writing, with the aid of an interpreter, TEGUH IMAM SANTOSO

admitted that he had shark fins and that he gave shark fins to DENI NURYANTO

and MAMAN RUKMANA to carry back to Indonesia "for their families" and that

NURYANTO and RUKMANA knew that they received shark fins from

SANTOSO. SANTOSO admitted to cutting fins off of sharks.

      23.    On or about November 8, 2018, after waiving his Miranda rights
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verbally and in writing, with the aid of an interpreter, ABDURAHMAN stated that

while on the vessel they cut the fins off of live sharks and threw the bodies back.

ABDURAHMAN admitted to having fins in his luggage. ABDURAHMAN stated

that he uses the intemet and Facebook.


      24.    On or about November 8, 2018, after waiving his Miranda rights

verbally and in writing, with the aid of an interpreter, TAUFIK HIDAYAT

admitted that he knew it was against the law to sell shark fins. HIDAYAT said he

ate sharks on the vessel and cut off their fins. He admitted to knowing sharks were

a protected species, but did not want dead sharks to go to waste.

      25.    On or about November 8,2018, after waiving his Miranda rights

verbally and in writing, with the aid of an interpreter, W., who did not possess

shark fins in his baggage, and who is not charged in this Complaint, said that he

knew it was illegal to possess shark fins. He stated that he has known it was illegal

to possess shark fins for a long time. He was not sure ifthe others knew nor why

they took the risk. He admitted that while on the ship, they cut fins off sharks,

dried the fins in the sun, and threw out the bodies.

      26.    For the foregoing reasons, there is probable cause to believe that the

Defendants have knowingly attempted to export fins from oceanic whitetip sharks,

Carcharhinus longimanus, contrary to the laws and regulations ofthe United

States, in violation of 18 U.S.C. § 554(a); and have knowingly attempted to export

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shark fins unlawful to possess under state law, in violation of the Lacey Act, Title

16, United States Code, Sections 3372(a)(4), 3372(a)(2)(A), and 3373(d)(1)(A).


      FURTHER AFFIANT SAYBTH NAUGHT.


      DATED: Honolulu, Hawaii, November 9, 2018.


                                       KEITH SWINDLE
                                       U.S. Fish and Wildlife Service


This Criminal Complaint and Affidavit in support thereof were presented to,
approved by, and probable cause to believe that the defendant above-named
committed the charged crime found to exist by the undersigned Judicial Officer at
                on November 8, 2018.

Sworn to and subscribed in rnyjirs^ence,
this 9th day of Novembej




KEVIN S.C. CHAN
United States Magistra
